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12   Attorneys for Plaintiff

13                            IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ARIZONA
14

15   United States of America,                         NO. CR-18-00422-PHX-SPL (BSB)
16
                         Plaintiff,                           JOINT MOTION FOR
17   vs.                                                     EXTENSIONS OF TIME
18   Michael Lacey, et al.,                                 “Defendant Not in Custody”
19
                      Defendants.                          (Honorable Steven P. Logan)
20

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22

23          Defendant Michael Lacey, by and through his undersigned counsel, hereby submits the
24   instant joint motion for an extension of certain deadlines for Defendant and the government.
25   Presently, Defendant’s deadline for submission of a reply brief on Defendant’s Motion for
26   Disclosure (Doc. 202) is August 9, 2018. The government’s deadline for submission of a reply
27   brief on the Government’s Motion to Resolve Privilege Issues (Doc. 195) is August 10, 2018.
28
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 1   Counsel for the parties discussed their current deadlines and their respective needs for extensions
 2   of those deadlines, thereby agreeing to jointly move for an extension of their respective
 3   deadlines. As grounds in support of this Motion, the parties state as follows:
 4           This case originally involved a 93-count indictment and was designated complex.
 5   The parties have engaged in motion practice, including the filing of Defendant’s Motion
 6   for Disclosure (Doc. 202) and the Government’s Motion to Resolve Privilege Issues (Doc.
 7   195).
 8           On July 17, 2018, this Court granted Defendant’s Unopposed Motion for an
 9   Extension of the deadline to submit a reply brief on Defendant’s Motion for Disclosure and
10   set the deadline for August 9, 2018 for Defendant and each of the Co-Defendant’s who had
11   joined in the motion. (Doc. 222.) On July 25, 2018, this Court granted the Government’s
12   Unopposed Motion for an Extension of the deadline to submit a reply brief on the
13   Government’s Motion to Resolve Privilege Issues and set the deadline for August 10, 2018.
14   (Doc. 233.)
15           Since this Court set those deadlines, a grand jury sitting in this District issued a 100-
16   count superseding indictment. (See Doc. 230.) In light of the new charges, the need for
17   counsel to travel for the arraignment, and other pressing matters, the parties would greatly
18   benefit from a one-week extension of their respective deadlines. The parties respectfully
19   request that this Court extend the deadline for Defendant’s reply brief on Defendant’s
20   Motion for Disclosure from August 9, 2018 to August 16, 2018 for Defendant and all Co-
21   Defendants who have joined in the motion, and respectfully request that this Court extend
22   the government’s deadline for submission of the reply brief on the Government’s Motion
23   to Resolve Privilege Issues from August 10, 2018 to August 17, 2018.
24           The parties do not expect that this motion will result in any excludable delay under
25   18 U.S.C. § 3161(h).
26           A proposed order is attached for the Court’s consideration.
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     Respectfully submitted this 9th day of August, 2018,
 1

 2                                 /s/    Erin E. McCampbell
 3                                        Erin E. McCampbell, Esq.
                                          LIPSITZ GREEN SCIME CAMBRIA LLP
 4
                                          Attorneys for Defendant Michael Lacey
 5
                                   /s/    Kevin M. Rapp
 6
                                          Kevin M. Rapp, Esq.
 7                                        ASSISTANT UNITED STATES ATTORNEY
 8                                        Attorneys for Plaintiff

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                                     CERTIFICATE OF SERVICE
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 2           I hereby certify that on this 9th day of August 2018, I electronically transmitted the
 3   foregoing Joint Motion for Extensions of Time to the Clerk of the Court by filing with the
     CM/ECF system and understand a copy of the filing will be emailed to the attorneys of record.
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 5   By: /s/ April Kelly
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